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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E. N. BISSO & SON, INC.                                          * CIVIL ACTION

VERUS                                                            * NO. 19-cv-14666

M/V DONNA J. BOUCHARD, her tackle,                               * SECTION “E” (1)
Furniture, apparel, appurtenances, etc. in
rem, and the Barge B. NO. 272, her tackle,                       * JUDGE MORGAN
Furniture, apparel, appurtenances, etc. in
rem and BOUCHARD                                                 * MAG VAN MEERVELD
TRANSPORTATION CO., INC. in
personam

Applies to: 19-14666

*      *       *       *      *       *       *      *       *

                                             ORDER

       Considering the foregoing Joint Motion to Dismiss, and the Court having been advised

that E.N. Bisso & Son, Inc. and all Defendants in this case have entered into a full and final

settlement of all of E.N. Bisso & Son, Inc.’s claims and causes of action in this matter;

       IT IS ORDERED that the motion is GRANTED. All of E.N Bisso and Son, Inc.’s

claims and causes of action in the present case be and are hereby DISMISSED, WITH

PREJUDICE, each party to bear its own costs, and, further, that the warrants of

arrest and writs of attachment of the M/V DONNA J. BOUCHARD and Barge B. No. 272,

in rem, issued in this matter at E.N. Bisso & Son, Inc’s request on December18, 2019, are

hereby vacated and dismissed.

       New Orleans, Louisiana, this 7th day of April 2020.



                                                  UNITED STATES DISTRICT JUDGE
